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14

15                               UNITED STATES DISTRICT COURT
16                             NORTHERN DISTRICT OF CALIFORNIA
17
                                               )
18   IN RE: ROUNDUP PRODUCTS                   )    MDL No. 2741
19   LIABILITY LITIGATION                      )
                                               )    Case No. 3:16-md-02741-VC
20                                             )
     Hardeman v. Monsanto Co.,                 )    MONSANTO’S PROPOSED PHASE 2
21   3:16-cv-0525-VC                           )    JURY INSTRUCTIONS AND VERDICT
                                               )    FORM
22
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 1                                        Introduction
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           Defendant Monsanto Company (“Monsanto”) respectfully submits the
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     following proposed instructions. On January 3, 2019, the Court granted Monsanto’s
 4
     request to bifurcate this trial into two phases: one for causation and the other for
 5
     liability. (Docket No. 2406). The following instructions are limited to the second
 6
     phase. In addition, Monsanto is submitting draft instructions relating to a potential
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     design defect claim, but as indicated in the prior filings and colloquy with the Court,
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     Monsanto does not believe that such a claim is viable as a matter of law.
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 1                              JURY INSTRUCTION NO. 1
 2                      (Opening Guidance/Overview of Phase Two)
 3         In the first phase of this trial, you determined that Roundup was a substantial
 4   factor in causing Mr. Hardeman’s Non-Hodgkin Lymphoma, also known as NHL.
 5   That does not mean Monsanto is liable to Mr. Hardeman. You will now be asked, in
 6   the second phase of this trial, to determine whether Monsanto is legally responsible
 7   for any harm that Mr. Hardeman suffered because of his use of Roundup, and if so,
 8   whether he is entitled to any damages. Mr. Hardeman claims that Monsanto should
 9   have provided a warning about the risk of NHL at the time he used the product, and
10   that if Monsanto had warned about the risk, he would not have used Roundup. [In
11   addition, Mr. Hardeman claims that Roundup was defectively designed, and that the
12   allegedly defective design caused him to develop NHL.]
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 1                              JURY INSTRUCTION NO. 2
 2                                     (Failure to Warn)
 3         Mr. Hardeman claims that Monsanto’s failure to adequately warn about the risk
 4   of developing NHL with the use of Roundup caused his NHL. To establish this
 5   claim, Mr. Hardeman must prove all of the following:
 6      1. That Monsanto manufactured, distributed, or sold Roundup;
 7      2. That at the time Mr. Hardeman used Roundup, Monsanto knew or reasonably
 8         should have known, based on the scientific and medical knowledge that was
 9         generally accepted in the scientific community at the time, that there was an
10         actual risk that Roundup could cause NHL when used in accordance with
11         widespread and commonly recognized practice;
12      3. That ordinary consumers would not have recognized the risk that Roundup
13         could cause NHL;
14      4. That Monsanto did not adequately warn of the risk that Roundup could cause
15         NHL; and
16      5. That Mr. Hardeman would not have used Roundup, and therefore would not
17         have developed NHL, if Monsanto had provided an adequate warning.
18

19   Sources: CACI 1205 (modified). The “when used in accordance with widespread and
20   commonly recognized practice” language from the Federal Insecticide Fungicide and
21   Rodenticide Act (FIFRA), 7 U.S.C. § 136a(c)(5), has been substituted for “when used
22   or misused in a reasonably foreseeable manner” in light of Bates v. Dow
23   Agrosciences LLC. See 544 U.S. 431, 447 (2005) (“[A] state-law labeling
24   requirement is not pre-empted by § 136v(b) if it is equivalent to, and fully consistent
25   with, FIFRA’s misbranding provisions.”). The CACI model instruction is also
26   erroneous absent modification because it allows tort liability to be based on
27   “potential” risks. This formulation is not consistent with the California Supreme
28   Court’s articulation of the legal standard as involving a duty to warn of an actual

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 1   “risk,” not merely a potential, hypothetical, or speculative risk. See T.H. v. Novartis
 2   Pharm. Corp., 4 Cal. 5th 145, 164, 407 P.3d 18, 28 (Cal. 2017) (“The manufacturer
 3   has no duty to warn of risks that are “merely speculative or conjectural, or so remote
 4   and insignificant as to be negligible.”) (quoting Carlin v. Super. Ct., 56 Cal. Rptr. 2d
 5   162, 920 P.2d 134 (Cal 1996)).
 6         Additionally, Plaintiff must prove that an adequate warning would have
 7   prevented the alleged injury to succeed on a failure to warn claim. See Motus v.
 8   Pfizer, Inc., 358 F.3d 659, 660–61 (9th Cir. 2004) (“We agree with the Second
 9   Circuit that a product defect claim based on insufficient warnings cannot survive
10   summary judgment if stronger warnings would not have altered the conduct of the
11   prescribing physician.”); Motus v. Pfizer, Inc., 196 F. Supp. 2d 984, 991 (C.D. Cal.
12   2001) (“A plaintiff asserting causes of action based on a failure to warn must prove
13   not only that no warning was provided or the warning was inadequate, but also that
14   the inadequacy or absence of the warning caused the plaintiff’s injury.”); Ramirez v.
15   Plough, Inc., 6 Cal. 4th 539, 555–56, 863 P.2d 167, 177 (Cal 1993) (“Plaintiff’s
16   mother, who administered the SJAC to plaintiff, neither read nor obtained translation
17   of the product labeling. Thus, there is no conceivable causal connection between the
18   representations or omissions that accompanied the product and plaintiff’s injury.”);
19   Corbo v. Taylor-Dunn Mfg. Co., No. A135393, 2014 WL 576268, at *7 (Cal. Ct.
20   App. Feb. 14, 2014), as modified on denial of reh’g (Mar. 7, 2014) (“Our review of
21   the evidence leads us to the same conclusion the trial court reached. It remains
22   undisputed that there is no direct evidence that the absence of these warnings caused
23   this accident to happen.”); see also Eck v. Parke, Davis & Co., 256 F.3d 1013, 1018
24   (10th Cir. 2001) (“In the duty to warn context, assuming that plaintiffs have
25   established both duty and a failure to warn, plaintiffs must further establish proximate
26   causation by showing that had defendant issued a proper warning to the learned
27   intermediary, he would have altered his behavior and the injury would have been
28   avoided.” (citation omitted)); Riley v. Am. Honda Motor Co., 259 Mont. 128, 133,

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 1   856 P.2d 196, 199 (Mont. 1993) (“Our review of the record indicates that Riley failed
 2   to establish a causal relationship between the lack of a warning and his injury. . .
 3   Riley did not testify that he would have altered his conduct had he been warned of the
 4   motorcycle’s alleged propensity to wobble[.]”).
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 1                               JURY INSTRUCTION NO. 3
 2                                     (EPA Registration)
 3         The Environmental Protection Agency (referred to as “EPA”) regulates
 4   pesticides and pesticide labeling. In order for a pesticide to be sold in the United
 5   States, it must be registered by the EPA, who must approve the labeling for the
 6   pesticide. Before the EPA may register a pesticide, the EPA must conclude that using
 7   the pesticide according to the label requirements will not cause any unreasonable risk
 8   to humans or the environment. EPA may decline to register a pesticide. EPA’s
 9   decision to register a pesticide and approve its label is subject to revision as new
10   relevant data is reported. EPA may suspend or cancel registration of a pesticide or
11   reclassify its use based on new data or studies. EPA also retains authority to cancel,
12   deny or modify pesticide labels. You may consider compliance with EPA
13   requirements as relevant evidence about the issue of whether Monsanto has provided
14   adequate warnings.
15

16   Source: See Jeffers v. Wal-Mart Stores, Inc., 171 F. Supp. 2d 617, 624 (S.D. W. Va.
17   2001) (“FIFRA authorizes EPA to require additional data to maintain an existing
18   registration (§ 136a(c)(2)(B)); to change a classification to prevent unreasonable
19   adverse effects (§ 136a(d)(2)), and to conduct re-registration review (§ 136a(g)).
20   EPA also retains authority to cancel, deny or modify registration or labels. 7 U.S.C. §
21   136d(b). By its regulation, 40 C.F.R. § 152.125, EPA requires a registrant who
22   ‘receives or becomes aware of any factual information regarding unreasonable
23   adverse effects’ to provide it to EPA. The regulations require post-registration
24   submission of studies and data, including ‘incidents affecting humans,’ dealing with
25   toxicology or adverse effects. 40 C.F.R. §§ 159.152-195 (2001). These and other
26   provisions make clear that EPA’s decision to register a pesticide and approve its label
27   is subject to revision as new relevant data is reported. (See also 40 C.F.R. §
28   152.164(b)(classification reviews) and Part 154 (special review procedures)). EPA

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 1   may suspend or cancel registration or reclassify its use based on new data or
 2   studies.”); Etcheverry v. Tri-Ag Serv., Inc., 22 Cal. 4th 316, 321, 993 P.2d 366, 368
 3   (Cal. 2000) (“In the registration application, manufacturers must submit draft label
 4   language addressing a number of different topics, including ingredients, directions for
 5   use (40 C.F.R. § 152.50 (1999)), and any information of which they are aware
 6   regarding ‘unreasonable adverse effects of the pesticide on man or the environment.’
 7   (40 C.F.R. § 152.50(f)(3).) Prior to registering a pesticide, the EPA must find that its
 8   labeling complies with FIFRA’s requirements. (§ 136a(c)(5)(B).) . . . In addition, the
 9   EPA must find that the pesticide, when used in accordance with its labeling, ‘will
10   perform its intended function without unreasonable adverse effects on the
11   environment.’ (§ 136a(c)(5)(C).) ‘Unreasonable adverse effects on the environment’
12   are defined as ‘any unreasonable risk to man or the environment, taking into account
13   the economic, social, and environmental costs and benefits of the use of any
14   pesticide.’ (§ 136(bb).)”); see also Carlin v. Super. Ct., 13 Cal. 4th 1104, 1114–15,
15   920 P.2d 1347 (Cal. 1996) (observing that “evidence of compliance with FDA
16   requirements is admissible as relevant evidence in a strict tort liability case on the
17   issue whether a pharmaceutical manufacturer failed to provide adequate warnings”)
18   (citing Hatfield v. Sandoz-Wander, Inc. 124 Ill. App. 3d 780, 787, 464 N.E.2d 1105,
19   1109 (Ill. App. Ct. 1984)).
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 1                               [JURY INSTRUCTION NO. 5
 2                                       (Design Defect)
 3         Mr. Hardeman also claims that Roundup had a design defect that caused his
 4   NHL. You have already determined that Mr. Hardeman’s use of Roundup was a
 5   substantial factor in causing his NHL. However, you must now determine whether
 6   there was a defect in Roundup’s design that was a substantial factor in causing Mr.
 7   Hardeman’s NHL.
 8         If you find Mr. Hardeman has proved that a defect in Roundup caused his
 9   NHL, then your decision on this claim must be for Mr. Hardeman unless Monsanto
10   has proved that the benefits of Roundup’s design outweighed the risks of the design.
11   In deciding whether the benefits outweighed the risks, you should consider the
12   following:
13      a) The gravity of the potential harm resulting from the use of Roundup;
14      b) The likelihood that this harm would occur;
15      c) The feasibility of an alternative safer design at the time of manufacture;
16      d) The cost of an alternative design;
17      e) The disadvantages of an alternative design;
18      f) The benefits of the design of Roundup; and
19      g) The risks associated with the use of other pesticides.
20

21   Source: CACI 1204, adding additional factor (g) as invited by CACI 1204’s
22   bracketed language “[Other relevant factors]”. This instruction has also been
23   modified to account for causation being decided in phase one.]
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25   [As discussed above, Monsanto does not believe the jury should be charged on a
26   design defect theory.]
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 1                                JURY INSTRUCTION NO. 5
 2                                 (Compensatory Damages)
 3          If you decide that Monsanto is legally responsible for causing Mr. Hardeman’s
 4   NHL, you must decide how much money will reasonably compensate Mr. Hardeman
 5   for the harm arising from his illness. This compensation is called “damages.” The
 6   amount of damages must include an award for each item of harm that Mr. Hardeman
 7   suffered as a result of Roundup causing his NHL, even if the particular harm could
 8   not have been anticipated.
 9          Mr. Hardeman does not have to prove the exact amount of damages that will
10   provide reasonable compensation for the harm. However, you must not speculate or
11   guess in awarding damages.
12          The following are the specific items of damages claimed by Mr. Hardeman:
13   1.     Past and future medical expenses. To recover damages for past medical
14   expenses, Mr. Hardeman must prove the reasonable cost of reasonably necessary
15   medical care that he has received. To recover damages for future medical expenses,
16   Mr. Hardeman must prove the reasonable cost of reasonably necessary medical care
17   that he is reasonably certain to need in the future.
18   2.     Past lost earnings. To recover damages for past lost earnings, Mr. Hardeman
19   must prove the amount of income that he has lost to date.
20   3.     Physical pain and mental suffering. No fixed standard exists for deciding the
21   amount of these noneconomic damages. You must use your judgment to decide a
22   reasonable amount based on the evidence and your common sense. To recover for
23   future pain and suffering, Mr. Hardeman must prove that he is reasonably certain to
24   suffer that harm.
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26   Source: CACI 3900; 3903A; 3903C; 3905A (all modified).
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 1                               JURY INSTRUCTION NO. 6
 2                               (Clear and Convincing Proof)
 3         Certain facts must be proved by clear and convincing evidence, which is a
 4   higher burden of proof. This means the party must persuade you that it is highly
 5   probable that the fact is true. This standard of proof applies to the issue of punitive
 6   damages, on which I will instruct you next.
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 8   Source: CACI 201 (modified).
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 1                              JURY INSTRUCTION NO. 7
 2                                       (Punitive Damages)
 3         If you decide that Monsanto’s conduct caused Mr. Hardeman’s harm, you must
 4   decide whether that conduct justifies an award of punitive damages. The purposes of
 5   punitive damages are to punish a wrongdoer for the conduct that harmed the plaintiff
 6   and to discourage similar conduct in the future.
 7         You may award punitive damages against Monsanto only if Mr. Hardeman
 8   proves that Monsanto engaged in the conduct that caused his injuries with malice or
 9   oppression. To do this, Mr. Hardeman must prove one of the following by clear and
10   convincing evidence:
11      1. That the conduct constituting malice or oppression was committed by one or
12          more officers, directors, or managing agents of Monsanto, who acted on behalf
13          of Monsanto; or
14      2. That the conduct constituting malice or oppression was authorized by one or
15          more officers, directors, or managing agents of Monsanto; or
16      3. That one or more officers, directors, or managing agents of Monsanto knew of
17          the conduct constituting malice or oppression and adopted or approved that
18          conduct after it occurred.
19         “Malice” means that Monsanto acted with intent to cause injury or that
20   Monsanto’s conduct was despicable and was done with a willful and knowing
21   disregard of the rights or safety of another. A person acts with knowing disregard
22   when he or she is aware of the probable dangerous consequences of his or her
23   conduct and deliberately fails to avoid those consequences.
24         “Oppression” means that Monsanto’s conduct was despicable and subjected
25   Mr. Hardeman to cruel and unjust hardship in knowing disregard of his rights.
26         “Despicable conduct” is conduct that is so vile, base, or contemptible that it
27   would be looked down on and despised by reasonable people.
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 1         An employee is a “managing agent” if he or she exercises substantial
 2   independent authority and judgment in his or her corporate decision-making such that
 3   his or her decisions ultimately determine corporate policy.
 4         In deciding whether Monsanto is liable for punitive damages, you may
 5   consider only conduct by Monsanto up until 2012 that you believe caused Mr.
 6   Hardeman’s injuries. Any evidence you may have heard regarding conduct that was
 7   not a cause of Mr. Hardeman’s injuries cannot be a basis for a finding that punitive
 8   damages may be imposed.
 9         There is no fixed formula for determining the amount of punitive damages, and
10   you are not required to award any punitive damages. If you decide to award punitive
11   damages, you should consider all of the following factors in determining the amount:
12      a) How reprehensible was Monsanto’s conduct? In deciding how reprehensible
13         Monsanto’s conduct was, you may consider, among other factors:
14                1. Whether the conduct caused physical harm;
15                2. Whether Monsanto disregarded the health or safety of others;
16                3. Whether Mr. Hardeman was financially weak or vulnerable and
17                   Monsanto knew Mr. Hardeman was financially weak or vulnerable
18                   and took advantage of him;
19                4. Whether Monsanto’s conduct involved a pattern or practice.
20      b) Is there a reasonable relationship between the amount of punitive damages and
21         Mr. Hardeman’s harm?
22      c) In view of Monsanto’s financial condition, what amount is necessary to punish
23         it and discourage future wrongful conduct? You may not increase the punitive
24         award above an amount that is otherwise appropriate merely because Monsanto
25         has substantial financial resources.
26         Punitive damages may not be used to punish Monsanto for the impact of its
27   alleged misconduct on persons other than Mr. Hardeman.
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 1         Punitive damages are not intended to compensate Mr. Hardeman. If you
 2   awarded compensatory damages to Mr. Hardeman, your award will have fully
 3   compensated him for any loss, harm, or damage that he has incurred or may in the
 4   future incur as a result of Monsanto’s conduct. Accordingly, you must not include in
 5   an award of punitive damages any amount intended as compensation for loss, harm,
 6   or damage that Mr. Hardeman has incurred or may incur.
 7         There must be a reasonable relationship between any amount of punitive
 8   damages you award and the amount of compensatory damages you have awarded.
 9         In determining the amount of punitive damages, if any, you should take into
10   consideration any mitigating evidence. Mitigating evidence is evidence that may
11   demonstrate that there is no need for punitive damages or that a reduced amount of
12   punitive damages should be imposed against Monsanto.
13         In determining whether to impose punitive damages and the amount of any
14   such damages, you should consider whether Monsanto made any good-faith effort to
15   comply with federal regulations or industry customs or standards. You may not
16   punish Monsanto for any conduct that complied with federal or state law, or was
17   otherwise lawful where it occurred.
18

19

20   Source: CACI 3945 (modified); CACI 201 (modified). The proposed instruction
21   deletes any reference to “fraud,” and “trickery or deceit,” which is outside the scope
22   of the pleadings in this case.
23         California law requires that there be a reasonable relationship between the
24   amount of punitive and compensatory damages. See, e.g., BMW of N. Am., Inc. v.
25   Gore, 517 U.S. 559, 580–82 (1996) (“The principle that exemplary damages must
26   bear a ‘reasonable relationship’ to compensatory damages has a long pedigree.”);
27   Gagnon v. Cont’l Cas. Co., 211 Cal. App. 3d 1598, 1602, 260 Cal. Rptr. 305, 307
28   (Ct. App. 1989) (“Concerning the actual harm to the plaintiff, California has long

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 1   followed the rule that punitive damages must bear a reasonable relation to the actual
 2   injury suffered.”). In determining the amount of punitive damages, the jury should
 3   also take into consideration any mitigating evidence. See, e.g., E.E.O.C. v. Farmer
 4   Bros. Co., 31 F.3d 891, 904 (9th Cir. 1994) (“[I]n calculating punitive damages, the
 5   court must consider the reprehensibility of the defendant’s actions as well as any
 6   mitigating conduct.”); State Farm Mut. Auto. Ins. Co. v. Campbell, 538 U.S. 408, 419
 7   (2003) (“[T]he most important indicium of the reasonableness of a punitive damages
 8   award is the degree of reprehensibility of the defendant’s conduct.”); Rosener v.
 9   Sears, Roebuck & Co., 110 Cal. App. 3d 740, 753–54, 168 Cal. Rptr. 237, 245 (Ct.
10   App. 1980) (considering mitigating factors in finding exemplary damages award
11   excessive).
12         Moreover, the amount awarded in punitive damages should be no greater than
13   the amount the jury finds necessary to punish Monsanto. See, e.g., Campbell, 538
14   U.S. at 419 (“It should be presumed a plaintiff has been made whole for his injuries
15   by compensatory damages, so punitive damages should only be awarded if the
16   defendant’s culpability, after having paid compensatory damages, is so reprehensible
17   as to warrant the imposition of further sanctions to achieve punishment or deterrence .
18   . . While we do not suggest there was error in awarding punitive damages based upon
19   State Farm’s conduct toward the Campbells, a more modest punishment for this
20   reprehensible conduct could have satisfied the State’s legitimate objectives, and the
21   Utah court should have gone no further.”).
22         It is not appropriate to award punitive damages as compensation. See, e.g., id.
23   at 416 (“Compensatory damages ‘are intended to redress the concrete loss that the
24   plaintiff has suffered by reason of the defendant’s wrongful conduct.’ By contrast,
25   punitive damages serve a broader function; they are aimed at deterrence and
26   retribution.”) (internal citations omitted)).
27         The jury should also consider whether Monsanto made any good-faith effort to
28   comply with federal regulations or industry customs or standards, and may not punish

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 1   Monsanto for any conduct that complied with federal or state law. Id. at 421–22 (“A
 2   State cannot punish a defendant for conduct that may have been lawful where it
 3   occurred . . . A jury must be instructed, furthermore, that it may not use evidence of
 4   out-of-state conduct to punish a defendant for action that was lawful in the
 5   jurisdiction where it occurred.”); Lusardi Constr. Co. v. Aubry, 1 Cal. 4th 976, 996–
 6   97, 824 P.2d 643, 655 (Cal. 1992) (“[C]ourts refuse to impose civil penalties against a
 7   party who acted with a good faith and reasonable belief in the legality of his or her
 8   actions.”); see also Geier v. Am. Honda Motor Co., 529 U.S. 861, 893 (2000) (“In
 9   addition, if Honda were ultimately found liable, such compliance would presumably
10   weigh against an award of punitive damages.”) (Stevens, J., dissenting); Reed v. Tiffin
11   Motor Homes, Inc., 697 F.2d 1192, 1198 (4th Cir. 1982) (“Clearly, whether or not
12   Tiffin followed industry standards and complied with the state of the art while
13   designing the motor home is probative on the issue of the wantonness, willfulness and
14   maliciousness of their acts, including the placement of the auxiliary gas tank.”); Stone
15   Man, Inc. v. Green, 435 S.E.2d 205, 206 (Ga. 1993) (“Stone Man’s compliance with
16   county, state, and federal regulations is not the type of behavior which supports an
17   award of punitive damages; indeed, punitive damages, the purpose of which is to
18   ‘punish, penalize or deter’ are, as a general rule, improper where a defendant has
19   adhered to environmental and safety regulations.”).
20         Finally, any evidence regarding conduct that was not a cause of Mr.
21   Hardeman’s injuries cannot be a basis for finding that punitive damages may be
22   imposed. Campbell, 538 U.S. at 422–23 (“A defendant’s dissimilar acts, independent
23   from the acts upon which liability was premised, may not serve as the basis for
24   punitive damages. A defendant should be punished for the conduct that harmed the
25   plaintiff, not for being an unsavory individual or business.”); Holdgrafer v. Union
26   Oil. Co., 160 Cal. App. 4th 907, 929–30, 73 Cal. Rptr. 3d 216, 235 (Ct. App. 2008)
27   (citing Campbell); Medo v. Super. Ct., 205 Cal. App. 3d 64, 68, 251 Cal. Rptr. 924,
28   926 (Ct. App. 1988) (“Punitive damages are not simply recoverable in the abstract.

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 1   They must be tied to oppression, fraud or malice in the conduct which gave rise to
 2   liability in the case.”).
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 1                                       Verdict Form
 2
                                        Failure to Warn
 3

 4
     We answer the questions submitted to us as follows:
 5

 6
        1. During the time Mr. Hardeman used Roundup, did Mr. Hardeman prove that
 7
           Monsanto knew or should have known, based on the scientific and medical
 8
           knowledge that was generally accepted in the scientific community at the time,
 9
           that there was an actual risk that Roundup could cause NHL when used in
10
           accordance with widespread and commonly recognized practice?
11
                 _____ Yes     _____ No
12

13
           If your answer to question 1 is yes, then answer question 2. If you answered
14
           no, proceed to question 4.
15

16
        2. Did Mr. Hardeman prove that Monsanto failed to adequately warn of the risk
17
           that Roundup could cause NHL?
18
                 _____ Yes     _____ No
19

20
           If your answer to question 2 is yes, then answer question 3. If you answered
21
           no, proceed to question 4.
22

23
        3. Did Mr. Hardeman prove that he would not have used Roundup if Monsanto
24
           had provided an adequate warning?
25
                 _____ Yes     _____ No
26

27
           Proceed to question 4.
28


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 1                                      Design Defect
 2

 3   We answer the questions submitted to us as follows:
 4

 5         4. Did Mr. Hardeman prove that a defect in Roundup’s design was a
 6            substantial factor in causing his NHL?
 7                _____ Yes    _____ No
 8

 9         If your answer to question 4 is yes, then answer question 5. If you answer no,
10         then stop here, answer no further questions, and have the presiding juror sign
11         and date this form, unless you answered yes to question 3. If you answered yes
12         to question 3, proceed to question 6.
13

14         5. Did Monsanto prove that the benefits of Roundup’s design outweigh the
15            risks of the design?
16                _____ Yes    _____ No
17

18         If your answer to question 5 is yes, then stop here, answer no further questions,
19         and have the presiding juror sign and date this form, unless you answered yes
20         to question 3. If you answered yes to question 3, or no to question 5, proceed
21         to question 6.
22

23   [As discussed above, Monsanto does not believe the jury should be charged on a
24   design defect theory.]
25

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 1                                 Compensatory Damages
 2

 3     6. What are Mr. Hardeman’s damages?
 4        a. Past medical expenses:                $________
 5        b. Future medical expenses:              $________
 6        c. Past lost earnings:                   $________
 7        d. Physical pain and mental suffering:   $________
 8

 9        TOTAL:                                   $________
10

11        Proceed to question 7.
12

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 1                                    Punitive Damages
 2

 3   We answer the questions submitted to us as follows:
 4

 5         7. Did Mr. Hardeman prove, by clear and convincing evidence, that Monsanto
 6            acted with malice or oppression in the conduct that caused Mr. Hardeman’s
 7            injuries?
 8               _____ Yes       _____ No
 9

10         If your answer to question 7 is yes, then answer question 8. If you answered
11         no, stop here, answer no further questions, and have the presiding juror sign
12         and date this form.
13

14         8. Did Mr. Hardeman prove, by clear and convincing evidence, that the
15            conduct constituting malice or oppression was committed, ratified, or
16            authorized by one or more officers, directors, or managing agents of
17            Monsanto?
18               _____ Yes       _____ No
19

20         If your answer to question 8 is yes, then answer question 9. If you answered no,
21         stop here, answer no further questions, and have the presiding juror sign and
22         date this form.
23

24         9. What amount of punitive damages, if any, do you award Mr. Hardeman?
25            $______
26

27         Please have the presiding juror sign and date this form.
28


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 1

 2   Signed: _________________
 3              Presiding Juror
 4   Dated: _________
 5

 6         After the verdict form has been signed, notify the clerk that you are ready to
 7   present your verdict in the courtroom.
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 1

 2   DATED: March 14, 2019                 Respectfully submitted,

 3                                         /s/ _Brian L. Stekloff_________

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25

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 1                                    CERTIFICATE OF SERVICE
 2          I HEREBY CERTIFY that on this 14th day of March 2019, a copy of the foregoing was

 3   filed with the Clerk of the Court through the CM/ECF system which sent notice of the filing to all

 4   appearing parties of record.

 5                                                                    /s/ Brian L. Stekloff

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